Case 1:23-cv-23799-RAR Document 19 Entered on FLSD Docket 11/08/2023 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                      CASE NO.: 23-cv-23799

  THE SMILEY COMPANY SPRL,

         Plaintiff,
  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                              /

       NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

  counsel, Plaintiff hereby voluntarily dismisses without prejudice all claims against the following

  Defendant:

         FASHIXD-US (Defendant No. 26 on Schedule “A” to the Complaint).

  Date: November 8, 2023                          Respectfully submitted by,

                                                  Javier Sobrado
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